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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHER DISTRICT OF TEXAS
                                   HOUSTON DIVISION

BRYON PARFFREY                                  §
                                                §
v.                                              §       Civil Action No: 4:21-cv-03151
                                                §
PHH MORTGAGE CORPORATION                        §


                            PLAINTIFF’S EXPERT DESIGNATIONS

          Comes now Plaintiff, Bryon Parffrey, and submits this designation of expert witnesses.

Plaintiff reserves the right to supplement or amend this designation of experts witnesses with

additional expert witness within the time limits imposed by the Court or any alterations of same

by subsequent Court order, agreement of the parties, or pursuant to the Rules applicable in this

matter.

          1. Erick DeLaRue

             The Law Office of Erick DeLaRue, PLLC
             2800 Post Oak Blvd, Suite 4100
             Houston, Texas 77056
             713-899-6727

                 Erick DeLaRue may testify as to the reasonableness, necessity of, and amount of

             attorneys’ fees incurred in the above matter and the reasonable amount of attorneys’

             fees in similar cases in the Southern District of Texas and the State of Texas. Mr.

             DeLaRue will base his testimony on his knowledge of the work performed on this

             matter; his experience as a licensed attorney; his experience in cases involving issues

             similar to those present in this case; his knowledge of the usual and customary

             attorneys’ fees charged in the Southern District of Texas and the State of Texas for

             similar representation; the skill required to perform the legal services properly; the
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     time limitations imposed by the client or by the circumstances; the nature and length

     of the professional relationship with the client; the expertise, reputation and ability of

     counsel; the extent of responsibility assumed; the benefits to be derived; and the costs

     and expenses incurred. Mr. DeLaRue may testify by affidavit.

        Mr. DeLaRue reserves the right to supplement any report based upon the final

     amount of attorney fees and expenses claimed by Plaintiff, any defendant in the

     lawsuit, and other developments in the litigation. Mr. DeLaRue is employed as an

     attorney for Plaintiff, and he is not receiving any additional compensation for his

     testimony.


2.                Any fact witnesses presented by the defendant may also provide expert

        testimony. Plaintiff reserves the right to call or present, by direct examination or

        cross examination, testimony and/or evidence obtained from those alleged expert

        witnesses designated by Defendant. Any materials relied upon by such witnesses

        are hereby designated. Plaintiff reserves the right to call the expert or opinion

        witnesses designated by any and all other parties in this matter, or utilize the expert

        or opinion testimony of any witness deposed in this case, and reserves the right to

        call and designate additional expert witnesses in rebuttal, and to challenge the

        qualifications, conclusions, and opinions of any expert witnesses designated or

        called by any party offering testimony against the interests of Plaintiff. Plaintiff

        reserves the right to request leave of Court to designate additional experts if doing

        so should become necessary at a later time. Further, Plaintiff reserves whatever

        additional rights they may have regarding experts, pursuant to the Federal Rules of

        Civil Procedure, the Federal Rules of Evidence, the case law construing same, and
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       any rulings of the trial court.




                                         Respectfully Submitted by,

                                                Law Office of Erick DeLaRue, PLLC

                                         By: __/s/ Erick DeLaRue___________
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                                                2800 Post Oak Boulevard, Suite 4100
                                                Houston, TX 77056
                                                Telephone: 713-899-6727
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                                                ATTORNEY FOR PLAINTIFF



                               CERTIFICATE OF SERVICE
        I hereby certify that on June 10, 2022, a copy of the above and foregoing
was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this
filing has been forwarded to all parties, by and through their attorneys of record, by
operation of the Court’s electronic filing system or by other means in accordance with the
FEDERAL RULES OF CIVIL PROCEDURE.

                   Via Court’s ECF E-Filing System and/or Via Email.

                                     Elizabeth Duffy
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                                                       /s/   Erick DeLaRue
                                                         ERICK DELAURE
